    Case: 3:23-cr-00072-RAM-GAT              Document #: 38         Filed: 11/22/23        Page 1 of 4




                      IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                           DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                            )
                                                     )
                        Plaintiff,                   )
                                                     )
                        v.                           )        Case No. 3:23-cr-0072
                                                     )
RICHARDSON DANGLEBEN, JR.,                           )
                                                     )
                        Defendant.

                                                 ORDER
        BEFORE THE COURT is Defendant Richardson Dangleben Jr.’s (“Dangleben”) motion
filed on November 7, 2023, to designate this case as complex pursuant to 18 U.S.C. §§
3161(h)(7)(A) and (B)(ii), requesting that “reasonable motions – and trial-related deadlines
be established outside of the time frame established in the Speedy Trial Act.” (ECF No. 30.)
The United States (“Government”) filed a notice of no opposition on November 8, 2023. (ECF
No. 32.) Also before the Court is the Government’s Motion for Extension of Discovery
Deadline and Exclusion of Time under the Speedy Trial Act. (ECF No. 28) 1
        On July 7, 2023, the Government filed a Complaint charging Dangleben with First
Degree Murder of a Virgin Islands Police Officer while Engaged in the Performance of his
Official Duties, in violation of 14 V.I.C. §§ 921 and 922(a)(3)(A)(i), and Possession of a
Firearm with a Removed, Obliterated or Altered Serial Number, in violation of 18 U.S.C. §
922(k). On October 13, 2023, a grand jury returned a 13-count Indictment against
Dangleben. He was arraigned on October 25, 2023.
        The Speedy Trial Act, 18 U.S.C. § 3161 et seq., requires that defendants be tried within
seventy days of indictment or filing of an information. Nevertheless, pursuant to 18 U.S.C. §
3161(h)(7), a Court may exclude a period of delay in computing the time within which the
trial of an offense must commence if the Court grants the continuance “on the basis of his

1
 The Government contends that firearm and ballistic, DNA and fingerprints laboratory examinations remain
pending, and the expected completion date is late December or early January. As outstanding discovery has
potential to exculpate or inculpate Defendant, the Government argues that granting the motion will prevent a
possible miscarriage of justice.
  Case: 3:23-cr-00072-RAM-GAT            Document #: 38     Filed: 11/22/23     Page 2 of 4
United States v. Dangleben
Case No. 3:23-cr-0072
Order
Page 2 of 4

findings that the ends of justice served by taking such action outweigh the best interest of
the public and the defendant in a speedy trial” 18 U.S.C.A. § 3161(h)(7)(A). Among the factors
that courts consider in determining whether to grant a continuance is “[w]hether the case is
so unusual or so complex, due to the number of defendants, the nature of the prosecution, or
the existence of novel questions of fact or law, that it is unreasonable to expect adequate
preparation for pretrial proceedings or for the trial itself within the time limits established
by this section.” 18 U.S.C.A. § 3161 (h)(7)(B)(ii).
        Dangleben is charged with the following offenses carrying various penalties: Use of a
Firearm During a Crime of Violence Resulting in Death, 18 U.S.C. §924(j)(1), (death or term
of years up to life); two counts of Discharge of a Firearm in Furtherance of a Crime of
Violence, 18 U.S.C. §924(c)(1)(a), (ten years to life); Possession of Firearms in Furtherance
of a Drug Trafficking Crime, 18 U.S.C. §924(c)(1)(a), (ten years to life); Possession of a
Firearm With an Obliterated Serial Number, 18 U.S.C. §922(k), (up to ten years); Receipt of a
Firearm While Under Indictment for a Crime Punishable by More than One Year
Imprisonment, 18 U.S.C. §922(n), (up to ten years), First Degree Murder, 14 V.I.C. §§921 and
922(a)(3), (life); two counts of First Degree Assault, 14 V.I.C. §295(1), (up to 15 years); two
counts of Third Degree Assault, 14 V.I.C. §297(a)(2), (up to 5 years); Attempted First Degree
Murder, 14 V.I.C. §§921, 922(a)(3) and 331(1), (up to 25 years); and Wearing Body Armor
During the Commission of a Violent Crime, 14 V.I.C. §2258a(a), (up to five years). Dangleben
contends that outstanding discovery includes firearms, ballistic, DNA, and fingerprint
laboratory reports and is expected to be voluminous. Since Dangleben is detained, reviewing
discovery is more time-consuming and cumbersome than would otherwise be, especially
reviewing the video and audio evidence, which requires additional time expenditure.
Dangleben’s counsel has identified numerous issues which will require expert consultation
and considerable motion practice will be necessary. Moreover, considerable investigation
remains to be done and discovery indicates that a far greater number of witnesses will need
to be interviewed than is typical, which may lead to identification of other witnesses and
areas for investigation.
  Case: 3:23-cr-00072-RAM-GAT             Document #: 38     Filed: 11/22/23    Page 3 of 4
United States v. Dangleben
Case No. 3:23-cr-0072
Order
Page 3 of 4

        The Court finds that, due to the nature of the charges, the potential penalties the
defendant is facing, the voluminous discovery – some of which is outstanding – the
difficulties in ensuring Dangleben’s review of discovery, the need for thorough investigation
and expert consultation, and additional time to engage in motion practice, this matter should
be designated as a complex case. Therefore, pursuant to 18 U.S.C. § 3161(h)(7)(A), the ends
of justice served by continuing this trial outweigh the interest of the public and the Defendant
in a speedy trial. Accordingly, for the foregoing reasons, it is hereby
        ORDERED that the Defendant’s Motion to Designate Case as Complex—Unopposed,
ECF No. 30, is GRANTED; it is further
        ORDERED that this matter is designated as complex case, and an “ends of justice”
continuance is warranted; it is further
        ORDERED that the Government’s Motion for Extension of Discovery Deadline and
Exclusion of Time Under the Speedy Trial Act, ECF No. 28, is GRANTED; it is further
        ORDERED that the time beginning from the date of this order granting an extension
through October 28, 2024, SHALL be excluded in computing the time within which the trial
in this matter must be initiated pursuant to 18 U.S.C. § 3161; it is further
        ORDERED that discovery is due no later than January 12, 2024; it is further
        ORDERED that a telephonic status conference in this matter SHALL commence
promptly at 11:00 A.M. on February 20, 2024. Call-in information will be provided to the
parties by the Court. The public may access the audio of the proceeding by calling 1-888-
251-2909 and entering access code 5157509#; it is further
        ORDERED that expert disclosures are due no later than June 3, 2024; it is further
        ORDERED that the deadline to file any motions is June 29, 2024; it is further
        ORDERED that the parties SHALL file and serve a pre-trial brief no later than October
18, 2024, which shall include the following: (a) proposed list of witnesses; (b) proposed list
of exhibits; (c) estimated length of case-in-chief and case-in-defense; (d) proposed non-
standard voir dire questions; and (e) proposed non-standard jury instructions related to the
elements of the charges and defenses; it is further
  Case: 3:23-cr-00072-RAM-GAT                  Document #: 38          Filed: 11/22/23        Page 4 of 4
United States v. Dangleben
Case No. 3:23-cr-0072
Order
Page 4 of 4

        ORDERED that the parties SHALL provide the Clerk of Court with a USB Flash Drive
containing electronic versions of exhibits no later than October 23, 2024; 2 and it is further
        ORDERED that the Jury Selection and Trial in this matter previously scheduled for
December 11, 2023, are RESCHEDULED to commence promptly at 9:00 A.M. on October 28,
2024, in St. Thomas Courtroom 1.


Dated: November 22, 2023                                    /s/ Robert A. Molloy
                                                            ROBERT A. MOLLOY
                                                            Chief Judge




2 Counsel are advised to consult with Court technical staff to determine the proper format for saving electronic

versions of exhibits. The Government’s trial exhibits shall be labelled sequentially beginning with
Government’s Exhibit 1. Defense exhibits shall be labelled sequentially beginning with Defense Exhibit A.
